











Opinion issued November 30, 2006&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;










In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00260-CR
____________

JOHN JAMES SILVA, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 262nd District Court
Harris County, Texas
Trial Court Cause No. 1024664



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, John James Silva, pleaded guilty to the felony offense of
aggravated assault, and in accordance with his plea bargain agreement with the State
the trial court deferred a finding of guilt and placed appellant on community
supervision for a period of 10 years.  The State subsequently filed a motion to
adjudicate guilt to which the appellant pleaded not true.   After a hearing, the trial
court found the allegations in the State’s motion to be true, adjudicated guilt, and
assessed punishment at confinement for 20 years.  We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s court-appointed counsel filed a motion to withdraw as counsel
and a brief concluding that this appeal is without merit.  Counsel’s brief meets the
requirements of Anders v. California, 386 U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967),
by presenting a professional evaluation of the record that demonstrates the lack of
arguable grounds of error.  See High v. State, 573 S.W.2d 807, 811 (Tex. Crim. App.
1978); Moore v. State, 845 S.W.2d 352, 353 (Tex. App.—Houston [1st Dist.] 1992,
pet. ref’d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Counsel represents that he served a copy of the brief on appellant.  Counsel
also advised appellant of his right to examine the appellate record and file a pro se
brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than
30 days have passed, and appellant has not filed a pro se brief.  We have carefully
reviewed the record and counsel’s brief.  We find no reversible error in the record,
and agree that the appeal is without merit.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We therefore affirm the judgment of the trial court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant counsel’s motion to withdraw.


  See Stephens v. State, 35 S.W.3d
770, 771 (Tex. App.—Houston [1st Dist.] 2000, no pet.). 

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Alcala and Bland.

Do not publish.  Tex. R. App. P. 47.2(b).


